
*134OPINION.
Littleton :
The decision of the issues presented in these proceedings is governed by the Board’s decision in the Appeal of Providence &amp; Worcester Railroad Co., 6 B. T. A. 1186, in which it was held that amounts representing Federal taxes assessed against the lessor and paid by the lessee under the terms of the lease constituted additional income to such lessor in the nature of compensation for the use of property in the year in which such tax became due and payable. The fact that the Director General of Railroads bore a portion of the tax assessed against the petitioner has no bearing upon the question whether the amount paid to petitioner by the New York Central Railroad Co., lessee, was income to it.
Judgment will be entered on 15 days’ notice, wider Rule 50.
